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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                           Case No. 3:06cr66/LAC

ALONZO JOHNSON
_____________________________________________________________________

                              ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which
there have been no timely objections, and subject to this Court’s consideration of the Plea Agreement
pursuant to Fed.R.Crim.P. 11(e)(2), the plea of guilty of the Defendant, ALONZO JOHNSON, to
Counts I and II of the Indictment is hereby ACCEPTED. All parties shall appear before this Court
for sentencing as directed.
       DONE and ORDER this 15th day of June, 2006.


                                              s /L.A. Collier
                                              LACEY A. COLLIER
                                              SENIOR UNITED STATES DISTRICT JUDGE
